Case 4:02-cr-40053-JPG   Document 464 Filed 08/11/05   Page 1 of 8   Page ID
                                   #555
Case 4:02-cr-40053-JPG   Document 464 Filed 08/11/05   Page 2 of 8   Page ID
                                   #556
Case 4:02-cr-40053-JPG   Document 464 Filed 08/11/05   Page 3 of 8   Page ID
                                   #557
Case 4:02-cr-40053-JPG   Document 464 Filed 08/11/05   Page 4 of 8   Page ID
                                   #558
Case 4:02-cr-40053-JPG   Document 464 Filed 08/11/05   Page 5 of 8   Page ID
                                   #559
Case 4:02-cr-40053-JPG   Document 464 Filed 08/11/05   Page 6 of 8   Page ID
                                   #560
Case 4:02-cr-40053-JPG   Document 464 Filed 08/11/05   Page 7 of 8   Page ID
                                   #561
Case 4:02-cr-40053-JPG   Document 464 Filed 08/11/05   Page 8 of 8   Page ID
                                   #562
